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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE




GREGORY FORSBERG,
CHRISTOPHER GUNTER, SAMUEL
KISSINGER, AND SCOTT SIPPRELL,                           Case No.:
individually and on behalf of all others
similarly situated,
                                                            JURY TRIAL DEMANDED
                Plaintiffs,
v.

SHOPIFY, INC., SHOPIFY HOLDINGS
(USA), INC., SHOPIFY (USA) INC.,
AND TASKUS, INC.

            Defendants.
____________________________


                                 CLASS ACTION COMPLAINT

        Individually and on behalf of others similarly situated, Plaintiffs Gregory Forsberg (“Mr.

Forsberg”), Christopher Gunter (“Mr. Gunter”), Samuel Kissinger (“Mr. Kissinger), and Scott

Sipprell (“Mr. Sipprell”) (collectively, “Plaintiffs”), bring this action against Defendants

Shopify, Inc., Shopify Holdings (USA), Inc., Shopify (USA) Inc. (collectively, “Shopify”), and

TaskUs, Inc. (“TaskUs”) (collectively, the “Defendants”). Plaintiffs’ allegations are based upon

personal knowledge as to themselves and their own acts, and upon information and belief as to

all other matters based on the investigation conducted by and through Plaintiffs’ attorneys.

Plaintiffs believe that substantial additional evidentiary support for the allegations set forth

herein exists and will be revealed after a reasonable opportunity for discovery.




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                                    I.      INTRODUCTION

       1.      This is a class action for damages against TaskUs and Shopify for their failure to

exercise reasonable care in securing and safeguarding consumer information in connection with a

massive 2020 data breach impacting Ledger SAS (“Ledger”) cryptocurrency hardware wallets

(“Ledger Wallets”), resulting in the unauthorized public release of approximately 272,000 pieces

of detailed personally identifiable information (“PII”), including Plaintiffs’ and “Class” (defined

below) members’ full names, email addresses, postal addresses, and telephone numbers.

       2.      Ledger sells Ledger Wallets through its e-commerce website, which is run on

Shopify’s platform.

       3.      Ledger Wallets store the “private keys” of an individual’s crypto-assets. These

private keys are similar to bank account passwords in that access to the private keys allows an

individual to transfer the assets out of a cryptocurrency account. Unlike a bank account

transaction, however, cryptocurrency transactions are non-reversible—once assets are transferred

out of a cryptocurrency account, they are able to be distributed or spent with little information

about where they could have gone.

       4.      Ledger Wallets were marketed as providing owners of cryptocurrency with the

best security for their cryptocurrency because they hold password information in a physical form

and restrict transfer of crypto-assets in an individual’s account unless the physical device is

mounted to a computer and a twenty-four-word passphrase is entered.

       5.      Because of these features, Ledger’s platform is built on marketing the utmost

security and trust to its customers. Ledger and Shopify know that cryptocurrency transactions

are publicly visible through a transaction’s underlying blockchain, but cannot be traced back to

their particular owner without more information. When hackers know the identity of a



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cryptocurrency owner and know what platform that consumer is storing their crypto-assets on,

the hacker can work backwards to create a targeted attack aimed at luring hardware wallet

owners into mounting their hardware device to a computer and entering their passphrase,

allowing unfettered access and transfer authority over their crypto-assets.

       6.      Accordingly, to the world of cybercriminals, Ledger’s customer list, which was in

the possession of Shopify at the time of the “Data Breach” (defined below), is extremely

valuable. By accessing Ledger customer PII entrusted to Shopify, such as full names, email

addresses, postal addresses, and telephone numbers, hackers can engineer targeted

communications—known as phishing attacks—that compel users to unlock their cryptocurrency

accounts and make untraceable, irreversible transfers of cryptocurrency into these criminals’

accounts overseas and within the United States. The security of Ledger customers’ PII is

accordingly of the utmost importance. One instance of a customer mistakenly releasing their

account information to hackers can lead to the loss of millions of dollars in cryptocurrency that

will never be returned to their owner.

       7.      With their PII in hackers’ hands, Plaintiffs and Class members are no longer in

possession of a secure cryptocurrency portfolio.

       8.      Ledger and Shopify understand the seriousness of the misuse of customers’ PII,

and purport to address these issues. For example, Ledger advertises that it has “the highest

security standards,” and that it “continuously look[s] for vulnerabilities on Ledger products as

well as [its] providers’ products in an effort to analyze and improve the security,” and that its

products provide “the highest level of security for crypto assets.” 1 Shopify touts that it “work[s]




1
  The Ledger Donjon, LEDGER (Oct. 23, 2019), https://www.ledger.com/academy/security/the-
ledger-donjon (last accessed Feb. 22, 2022).
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tirelessly to protect your information, and to ensure the security and integrity of our platform.” 2

        9.      Ledger has built a reputation of maintaining the highest trust possible with its

customers, including those related to consumer PII that the company shares with third parties




like Shopify. Below are true and correct screenshots of Ledger’s advertising claims on its

website, as well as the company’s policies related to the information that it shares with third

parties in the course of its business:




2
 Privacy Policy, SHOPIFY (Jan. 10, 2022), https://www.shopify.com/legal/privacy#information-
protection (last accessed Feb. 22, 2022).
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       10.    Despite the repeated promises and world-wide advertising campaign touting

unmatched security for its customers, Ledger—and its data processing vendors, Shopify and

TaskUs—repeatedly and profoundly failed to protect its customers’ identities, causing targeted

attacks on thousands of customers’ crypto-assets and causing Class members to receive far less

security than they thought they had purchased with their Ledger Wallets.



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       11.     Between April and June of 2020, hackers gained access to and exploited a Ledger

database vulnerability through its e-commerce vendor, Shopify, and TaskUs as a third-party

contractor, in order to obtain a list of Ledger’s customers’ PII (the “Data Breach”). By June of

2020, hundreds of thousands of victims’ information had been traded on the black market,

leaving Plaintiffs and Class members vulnerable to multiple phishing attacks.

       12.     The known extent of the Data Breach became much worse over subsequent

months. Between June and December of 2020, the hackers who had acquired the Ledger

customer list from Shopify (due to Shopify and TaskUs negligence) had published the data

online, providing over 270,000 names, email addresses, physical addresses, phone numbers, and

other customer information to every hacker who wanted access to this information. The attacks

on Ledger customers, targeted at obtaining their confidential wallet passphrases or forcing

customers to transfer thousands of dollars in cryptocurrency to untraceable accounts across the

world, increased exponentially. Customers lost money in phishing attacks and faced threats of

physical violence or blackmail if they did not transfer crypto-assets to criminals around the

world. Using the customer shipping addresses that Shopify and TaskUs failed to protect, hackers

threatened to enter Ledger customers’ homes and assault them if they did not provide payment;

some cybercriminals even sent targeted phishing attacks under the guise of Ledger customer

service representatives, luring Data Breach victims to provide confidential passphrases to

hackers and allowing their assets to be drained from their accounts. 3

       13.     In the face of these circumstances, rather than acting to protect customer

information, Ledger, Shopify, and TaskUs did not even inform Plaintiffs and Class members of




3
 Tim Copeland, Ledger Won’t Reimburse Users After Major Data Attack, DECRYPT (Dec. 21,
2020), https://decrypt.co/52215/ledger-wont-reimburse-users-after-major-data-hack
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the Data Breach. Instead, Ledger initially denied that any compromise of the PII had occurred

and continued to claim its products were superior because they provided the best protection for

crypto-asset protection.

          14.   By December 23, 2020, however, Ledger could no longer cover up the Data

Breach. The hacked customer list had been posted publicly online and had become widely

available.

          15.   In response to this now-public reality, Ledger sent some customers affected by the

Shopify and TaskUs Data Breach an email notifying them for the first time that their information

had been affected as the result of a breach of Shopify’s merchant database; however, the email

notice provided nothing more than a passing reference to the Shopify incident further detailed

herein.

          16.   Below is a true and correct recitation of the notification email sent to Ledger

customers affected by the Data Breach:

                Dear client,

                On December 23, 2020, Shopify, our e-commerce service provider,
                informed Ledger of an incident involving merchant data. Rogue
                agent(s) of their customer support team obtained Ledger customer
                transactional records in April and June 2020. This is related to the
                incident reported by Shopify in September 2020, which concerns
                more than 200 merchants, but until December 21, 2020, Shopify had
                not identified this affected Ledger as well.

                We were able to examine the stolen data together with a third party
                forensic firm to identify the impacted customers.

                We regret to inform you that you are part of the customers whose
                detailed personal information was stolen by Shopify rogue agent(s).
                Specifically, your name and surname, detail of product(s) ordered,
                phone number and your postal address were exposed.

                We notified the French Data Protection Authority on December 26,
                2020. We are continuing to work with Shopify and law enforcement

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               on the case; an investigation is already underway, led by the FBI and
               the RCMP. Ledger also reported the events to the French Public
               Prosecutor and filed a complaint against the rogue agent(s).

               Thefts and attacks such as this cannot go uninvestigated or
               unprosecuted. We continue to work with law enforcement as well as
               private investigators on these cases, and we are adding more
               firepower by hiring additional private investigation capacity, adding
               experience and approaches to finding those responsible for these
               data thefts.

               FINALLY, keeping you secure is our reason for existing. We will
               soon release a technical solution that will remove the 24 words as
               the single pillar of the security of our hardware wallets and will open
               the door to funds insurance.

               If you would like more detail on the many steps we are taking to
               prevent such incidents in the future, please read this blog post.

               Sincerely,
               Pascal Gauthier
               Ledger CEO

       17.     The notification email provided nothing more than a passing reference to the

Shopify and TaskUs Data Breach, with the message containing a single hyperlink to a blog post

on Shopify’s website from September of 2020 that describes the extent of the Data Breach. A

true and correct screenshot of the blog post on Shopify’s website is copied below:




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        18.    It would not be revealed until months later that the “rogue members” of Shopify’s

support team included employees of TaskUs, Inc., a Delaware company that operates as a data

vendor for a number of Shopify clients. Also revealed was that a hacker known as “Pokeball”

solicited members of TaskUs who processed Shopify merchant data for a list of customers using

various merchants’ services, including Ledger. 4

        19.    Defendants’ misconduct, including but not limited to their failure to (a) prevent

the Data Breach and (b) take action in response thereto for approximately six months—if not

longer—has made targets of Plaintiffs and Class members, with their identities known or

available to every hacker in the world who wants access to this information.

        20.    Defendants’ deficient response compounded the harm that has already been

experienced by Plaintiffs and Class members. For example, by failing to notify every affected



4
 Natalie Wong & Gerrit De Vynck, Shopify Says ‘Rogue’ Employees Stole Data from
Merchants, BLOOMBERG LAW (Sept. 22, 2020), https://news.bloomberglaw.com/privacy-and-
data-security/shopify-says-rogue-employees-stole-data-from-merchants?context=article-related.
                                                11
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customer or admit to the full scope of the Data Breach, Shopify and TaskUs left Plaintiffs and

Class members unaware of the Data Breach and concomitant hacking risks. The direct result of

Defendants’ failure to adequately warn their merchant clients of the Data Breach is many Ledger

customers falling victim to hackers’ phishing emails and resulting fraud.

       21.     Moreover, Shopify’s deficient response to the Data Breach included a failure to

provide any support for merchant clients, like Ledger, whose customers had been targeted in the

incident, as well as negligently entrusting Ledger customer information to TaskUs’s data

processing team who, in turn, failed to maintain the information using adequate data safety

standards.

       22.     Shopify is therefore responsible for the actions of TaskUs in its maintenance (or

failure to maintain) Plaintiffs’ and Class members’ PII.

       23.     TaskUs, who upon information and belief brokered the contract with Shopify to

process Shopify data through TaskUS offices located in the United States, also failed to properly

maintain Plaintiffs’ and Class members’ highly sensitive PII, which it knew would lead to

targeted cyberattacks resulting in thousands of victims losing cryptocurrency funds that they

expected would be kept secure.

       24.     Had Plaintiffs and Class members known that the information necessary to

perform targeted phishing attacks against them would not be adequately protected by Shopify

and TaskUs, they would not have paid the amount of money they did to purchase the Ledger

Wallets. Nor, for that matter, would they have agreed to have their data transmitted to either

company in order to perform e-commerce support for Ledger’s operations.

       25.     On behalf of the Class and several Subclasses of victims impacted by the Data

Breach described herein, Plaintiffs seek, under state common law and consumer-protection



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statutes, to redress Defendants’ misconduct occurring from April 1, 2020 to the present (the

“Class Period”).

                                        II.    PARTIES

A.     Plaintiff Gregory Forsberg

       26.     Plaintiff Forsberg is a citizen of Arizona and resides in Tucson, Arizona. Mr.

Forsberg purchased a Ledger Nano S for use as a cryptocurrency wallet to control his

cryptocurrency assets. On or around April of 2019, Mr. Forsberg saw advertisements online for

Ledger services and hardware. Relying on these representations, Mr. Forsberg purchased the

Ledger Nano device from an online retailer and transferred his cryptocurrency assets to his

Ledger device. In adding cryptocurrency to his Ledger Wallet, he was required to provide his

PII to Ledger’s online service, including the types of PII mentioned above in the “Data Collected

Through Our Websites” section, including his first and last name, email address, telephone

number, and postal address. In making his purchase decision, Mr. Forsberg relied upon the data

security services advertised by Ledger, including the company’s use of third parties and

independent contractors such as Shopify and TaskUs to process customer PII. Mr. Forsberg

would not have purchased the Ledger Nano S device had he known that the sensitive information

collected by Ledger would be at risk because of the negligence of Defendants, to whom Ledger

entrusted Mr. Forsberg’s PII. Mr. Forsberg has suffered damages described below, including but

not limited to the fraudulent removal of cryptocurrency from his portfolio due to a sophisticated

scam attack on his Ledger wallet, and remains at a significant risk of additional attacks now that

his PII has been leaked online.




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B.        Plaintiff Christopher Gunter

          27.   Plaintiff Gunter is a citizen of North Carolina and resides in Asheville, North

Carolina. Mr. Gunter purchased a Ledger Nano S device for use as a cryptocurrency wallet to

control his cryptocurrency assets. On or around January of 2018, Mr. Gunter saw advertisements

online for Ledger’s services and hardware. Relying on these representations, Mr. Gunter

purchased the Ledger Nano S device from an authorized reseller on eBay and transferred his

cryptocurrency assets from an online Coinbase wallet to the Ledger device using Ledger’s online

platform in November of 2018. In making the transfer of his cryptocurrency assets from his

Coinbase account to his Ledger device, he was required to provide his PII to Ledger’s online

service, including the types of PII mentioned above in the “Data Collected Through Our

Websites” section, including his first and last name, email address, telephone number, and postal

address. In making his purchase decision, Mr. Gunter relied upon the data security services

advertised by Ledger, including the company’s use of third parties and independent contractors

such as Shopify and TaskUs to process customer PII. Mr. Gunter would not have purchased the

Ledger Nano S had he known that the sensitive information collected by Ledger would be at risk

because of the negligence of Defendants, to whom Ledger entrusted Mr. Gunter’s PII. Mr.

Gunter has suffered damages described below, including but not limited to the fraudulent

removal of cryptocurrency from his portfolio due to a sophisticated scam attack on his Ledger

wallet, and remains at a significant risk of additional attacks now that his PII has been leaked

online.

C.        Plaintiff Samuel Kissinger

          28.   Plaintiff Kissinger is a citizen of Kentucky and resides in Burlington, Kentucky.

Mr. Kissinger purchased two Ledger Nano S devices, a Ledger Nano X, and a Ledger Blue for



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use as cryptocurrency wallets to control his cryptocurrency assets. On or around August of 2017

and again in October of 2018 when Mr. Kissinger purchased the devices he saw advertisements

online for Ledger services and hardware. Relying on these representations, Mr. Kissinger

purchased the Ledger Nano device from an online retailer and transferred his cryptocurrency

assets to his Ledger device. In adding cryptocurrency to his Ledger Wallet, he was required to

provide his PII to Ledger’s online service, including the types of PII mentioned above in the

“Data Collected Through Our Websites” section, including his first and last name, email address,

telephone number, and postal address. In making his purchase decision, Mr. Kissinger relied

upon the data security services advertised by Ledger, including the company’s use of third

parties and independent contractors such as Shopify and TaskUs to process customer PII. Mr.

Kissinger would not have purchased the Ledger Nano device had he known that the sensitive

information collected by Ledger would be at risk because of the negligence of Defendants, to

whom Ledger entrusted Mr. Kissinger’s PII. Mr. Kissinger has suffered damages described

below, including but not limited to the fraudulent removal of cryptocurrency from his portfolio

due to a sophisticated scam attack on his Ledger wallet, and remains at a significant risk of

additional attacks now that his PII has been leaked online.

D.     Plaintiff Scott Sipprell

       29.     Plaintiff Sipprell is a citizen of Florida and resides in Saint Augustine, Florida.

Mr. Sipprell purchased a Ledger Nano S device for approximately $100 on or around December

of 2017 for use as a cryptocurrency wallet to control his cryptocurrency assets. On or around

December of 2017, Mr. Sipprell saw advertisements online for Ledger services and hardware.

Relying on these representations, Mr. Sipprell purchased the Ledger Nano device from an online

retailer while in Woodby Island, Washington and transferred his cryptocurrency assets to his



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Ledger device. In adding cryptocurrency to his Ledger Wallet, he was required to provide his

PII to Ledger’s online service, including the types of PII mentioned above in the “Data Collected

Through Our Websites” section, including his first and last name, email address, telephone

number, and postal address. In making his purchase decision, Mr. Sipprell relied upon the data

security services advertised by Ledger, including the company’s use of third parties and

independent contractors such as Shopify and TaskUs to process customer PII. Mr. Sipprell

would not have purchased the Ledger Nano device had he known that the sensitive information

collected by Ledger would be at risk because of the negligence of Defendants, to whom Ledger

entrusted Mr. Sipprell’s PII. Mr. Sipprell has suffered damages described below, including but

not limited to the fraudulent removal of cryptocurrency from his portfolio due to a sophisticated

scam attack on his Ledger wallet, and remains at a significant risk of additional attacks now that

his PII has been leaked online.

E.     Defendant TaskUs, Inc.

       30.     Defendant TaskUs, Inc. is a Delaware corporation with its principal place of

business registered at 1650 Independence Drive, Suite 100, New Braunfels, Texas 78132.

TaskUs had access to Ledger customers’ PII and failed to secure the received PII or implement

any security measures or even screening procedures to ensure that its agents, support

representatives, and other individuals to whom Ledger and Shopify entrusted the Private PII data

would ensure secure handling of the data.

F.     Defendant Shopify, Inc.

       31.     Defendant Shopify, Inc. is a Canadian Corporation with offices at 151 O’Connor

Street, Ground Floor, Ottowa, Ontario K2P 2L8.




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G.      Defendant Shopify Holdings (USA), Inc.

        32.     Defendant Shopify Holdings (USA), Inc. is a Delaware corporation with its

principal place of business in the United States. Shopify Holdings (USA), Inc. acts as a holding

company for all of Shopify Inc.’s US-based subsidiaries.

H.      Defendant Shopify (USA) Inc.

        33.     Defendant Shopify (USA) Inc. is a Delaware corporation with its principal place

of business in Ottowa, Canada. It is a wholly owned subsidiary of Shopify, Inc. The Shopify

entities had access to Ledger customers’ PII and failed to secure the received PII or implement

any security measures or even screening procedures to ensure that its agents, support

representatives, and other individuals to whom Shopify entrusted the private PII data would

ensure secure handling of the data.

        34.     Upon information and belief, Shopify (USA) Inc. and Shopify Holdings (USA),

Inc. are the functional equivalents of Shopify, Inc. because the two entities make no distinction

between themselves in the public eye and use the same logos, trademarks, and websites, making

it impossible to know the extent of any of the Shopify entities’ involvement in this Data Breach.

                              III.    JURISDICTION AND VENUE

        35.     Jurisdiction of this Court is founded upon 28 U.S.C. § 1332(d) because the matter

in controversy exceeds the value of $5,000,000, exclusive of interests and costs, there are more

than 100 class members, and the matter is a class action in which any member of a class of

plaintiffs is a citizen of a different state from any defendant.

        36.     This Court has personal jurisdiction over this action because Defendants Shopify

(USA) Inc., Shopify Holdings (USA), Inc., and TaskUs, Inc. are Delaware corporations.




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       37.     Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because Defendants

Shopify (USA) Inc., Shopify Holdings (USA), Inc., and TaskUs, Inc. reside within this District.

       38.     Plaintiffs are informed and believe, and thereon allege, that each and every one of

the acts and omissions alleged herein were performed by, and/or attributable to, Defendants.

       39.      Shopify, Inc. dominates and controls Shopify (USA) Inc.’s and Shopify Holdings

(USA)’s internal affairs and daily operations. Not only is Shopify (USA) Inc. a wholly owned

subsidiary of Shopify Holdings, which in turn is a wholly owned subsidiary of Shopify, Inc., but

there is also a substantial overlap among these entities’ executives, thereby imputing Shopify

(USA) Inc.’s and Shopify Holdings’ jurisdictional contacts with this Court to Shopify, Inc.

Indeed, Shopify (USA)’s CEO and CFO is Amy Shapero—the CFO of Shopify, Inc. The

Secretary of Shopify (USA) is Shopify Inc.’s Chief Legal Officer. Furthermore, Shopify’s job

listings note that the company will “hire you [ ] anywhere” as long as it has an “entity where you

are.” Shopify, therefore, does not differentiate between its entities for any job responsibilities

and thus does substantial business through the American employees it hires through its

subsidiary companies operating as Delaware corporations, including Shopify (USA) Inc. and

Shopify Holdings (USA), Inc.

       40.     This Court also has personal jurisdiction over Shopify (USA) Inc., Shopify

Holdings, and Shopify, Inc. because they solicit customers and transact business in Delaware and

throughout the United States, including with Ledger and TaskUs.

                              IV.     FACTUAL ALLEGATIONS

A.     Cryptocurrency Generally

       41.     Cryptocurrency is a digital asset designed to work as a medium of exchange or a

store of value. Cryptocurrencies use a variety of cryptographic principles to secure transactions,



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control the creation of additional units of currency, and verify the transfer of the underlying

digital assets.

        42.       Bitcoin was the world’s first decentralized cryptocurrency. It is also the largest

and most popular cryptocurrency, with a market capitalization of approximately $1.08 Billion.

Bitcoin’s economic market led to a market of other cryptocurrencies that have a market

capitalization of approximately $2 Trillion.

        43.       Underlying every owner of cryptocurrency’s assets are records of addresses and

transfer amount that track the ownership and transfer of every cryptocurrency in existence. This

record is also known as the blockchain, and is completely public, albeit without PII included in

this publicly available information.

        44.       A website known as coinmarketcap.com, which tracks cryptocurrency markets,

notes that there are currently more than 17,645 cryptocurrencies in existence.

B.      Cryptocurrency Transactions

        45.       Because information about the transfer of cryptocurrencies is public, the way to

authenticate and effectuate the transfer of these assets is to use public and private keys that are

assigned to these assets.

        46.       Each cryptocurrency address has one public key and one private key assigned to

it. With the private key, one can control the address and can move bitcoin in or out of the account. The

public key is more like a digital signature that is used to verify ownership and transfers of funds. The

blockchain address, public key, and private key are often mathematically related to one another.

        47.       The private key, however, is the sole mechanism that allows the transfer of

cryptocurrency. With the private key, an individual can implement an untraceable transfer of the

cryptocurrency from one computer to another. Conversely, without the private key, cryptocurrency

cannot be transferred. Anyone with a cryptocurrency’s private key, therefore, has total control over the


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funds in a portfolio. This key comes in many forms and must be kept private to avoid having control over

an individual’s portfolio.

C.      Cryptocurrency Security

        48.      As their name suggests, mathematically encoded cryptographic private keys are at the

heart of cryptocurrency transactions. These keys are extremely secure in that they are nearly impossible

to determine or generate without an owner’s input.

        49.      Nonetheless, there have, however, been targeted attacks used to steal cryptocurrencies by

luring users into disclosing their private keys. One of the largest Bitcoin exchanges, for example, lost a

staggering $280 Million in Bitcoin as recently as 2021. 5

        50.      Because it is nearly impossible to guess a ser’s private access key, hackers employ

targeted attacks aimed at luring users into disclosing their private keys. Once a hacker gains access to

these keys, the hacker controls its funds and can transfer them with impunity. Unlike accounts that store

currency electronically through banks or investment funds, there is no approval process for moving

cryptocurrency assets. Any transfer are additionally untraceable and irreversible, leaving the recipient

immune from identification or consequences for their actions.

        51.      Security over a user’s private portfolio keys is therefore of the utmost importance.

D.      Ledger Wallets

        52.      The need for security over private access keys is where Ledger hardware wallets

enter the picture. Ledger Wallets allow customers to purchase a physical device that in turn uses

an online application and other customer services for cryptocurrency owners to control and

monitor their cryptocurrency portfolios.




5
 Ada Hui, Wolfie Zhao, Over $280M Drained in KuCoin Crypto Exchange Hack, COINDESK
(Sept. 14, 2021), https://www.coindesk.com/markets/2020/09/26/over-280m-drained-in-kucoin-
crypto-exchange-hack/.


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       53.     The “hardware wallets” that Ledger sells are physical products that look like

portable USB hard drives. Below is an example of such a Ledger hardware wallet:




       54.     The point of these “wallets” is not to store cryptocurrency inside of them like a

traditional wallet stores physical currency. Cryptocurrency investors, rather, use the hardware

wallet to store their private keys in a physical device that is not held online, and thus is marketed

as a safer way of storing a user’s cryptocurrency portfolio keys.

       55.     The Ledger Wallet itself is secured with a PIN number or password, meaning that

misplacing the wallet does not pose a risk of theft.

       56.     Ledger also maintains an online customer service application called “Ledger

Live,” which interacts with users’ devices and allows Ledger Wallet owners to transfer, buy, sell,

and receive various crypto-assets. Below is a screenshot of this functionality:




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       57.     Ledger, through the purchase of the wallet devices and the use of the Ledger Live

services, collects and processes the PII of its consumers, including, but not limited to first and

last names, email addresses, post addresses, and telephone numbers. See also ¶ 5, supra.

       58.     This PII was collected by Ledger when Plaintiffs and the Class purchased their

Ledger hardware devices and signed up for the Ledger Live online services.

E.     Hacking of Hardware Wallets

       59.     Users of hardware wallets generally face risks of theft of their private keys,

usually targeted at where those keys are stored. If an owner stores their hardware keys on a

personal computer or other electronic device, then that device may be the target of hacking

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attempts aimed at gaining access to that device’s internal drive containing the passkey

information. Physical hardware wallets, however, are not connected to the internet, and hackers

must therefore utilize targeted attempts to gain a user’s passkey by luring them into revealing it,

either online in a fake form response or directly to a cybercriminal. These attacks are usually in

the form of phishing attacks, SIM-swap attacks, or physical intimidation, in which

cybercriminals will force users into paying money or revealing their passcode to a hacker.

       60.     Phishing attacks entail a cybercriminal purporting to be a legitimate business or

institution and contacting targets with the goal of luring them into revealing a passkey when they

otherwise would not. Examples of phishing attacks include spam emails sent to mimic the look

and feel of a banking website. The email recipient receives the email, believes she needs to link

to the account to update information, clicks a link in the email that goes to a sham website made

to look like the real bank website, and enters real login information into the sham website. The

owners of the sham website then possess that victim’s real banking login and password.

       61.     SIM-swap attacks occur when an attacker gains control of an individual’s phone

number by convincing the individual’s mobile carrier to switch the number to a new SIM-card

that the attacker possesses. The attacker can then gain control of that phone number and bypass

authentication pages that force the user to verify their phone number.

       62.     Users of devices like the Ledger Wallet are, by the nature of their investments,

more skeptical of these phishing attempts and are aware of cybercriminals’ attempts to

fraudulently procure cryptocurrency in recent years. Ledger users will commonly create unique

email addresses used just for interacting with accounts that manage their crypto assets. Ledger

users also have a separate dedicated phone number to use for dual-factor authentication when

interacting with their cryptocurrencies. By implementing these additional security measures,



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users know that cryptocurrency related emails to other email addresses and phone numbers are

illegitimate.

        63.     Plaintiffs took some of these additional security measures in addition to buying a

Ledger hardware wallet. Mr. Kissinger, for example, continuously updated his email password

and implemented additional verification steps on the email address that he used to manage his

cryptocurrency portfolios. Additionally, Plaintiff Sipprell used an entirely separate phone

number and email account for the management of his cryptocurrency portfolio through his

Ledger Nano device. By using a dedicated phone number and email address, Plaintiff Sipprell

took the extra step of eliminating the risk of being lured into divulging his passkey information

through phishing attacks on contact information that hackers could piece together from sources

other than the Ledger data breach incident. Any communications related to his Ledger device or

cryptocurrency portfolio on other emails would have immediately been recognized as spam by

Plaintiff Sipprell, yet the hackers had access to his dedicated Ledger email and phone number,

making these phishing attacks even more sophisticated and targeted towards specific Ledger

users. This underscores the importance of securing this information.

        64.     For these reasons, the only point of vulnerability for owners of Ledger Wallets is

public disclosure of the PII of the wallet’s owner. If hackers know the names, email addresses,

phone numbers, or physical addresses of people who own Ledger Wallets, ingenious phishing

attempts can be engineered to target users’ dedicated crypto-trading accounts. All that would

need to be accomplished once this information was known is that the cybercriminals convince

the user that they are receiving a communication from Ledger itself, leading to the disclosure of

their secure passkeys and allowing the criminals to drain the users’ cryptocurrency.




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       65.     A great deal of information is also available about Plaintiffs and class members

on the dark web. This information imposes further uncompensated costs on those individuals.

The dark web allows cybercriminals to piece information about cryptocurrency investors

together, revealing blockchain records that can allow other hackers to monitor a user’s portfolio,

including how much currency is in an account.

F.     The Data Breach

       66.     Making unequivocal representations about the security of its devices noted above,

despite knowing such representations were not true relating to its own data security practices and

those of its data processing vendors, Shopify and TaskUs, Ledger sold Plaintiffs and Class

members the Ledger Nano X and Ledger Nano S wallets for $119 and $59, respectively.

       i.      Ledger Uses Shopify as an e-Commerce Vendor

       67.     Ledger sells its Nano products through number of distributers, including Amazon

and Walmart. It also sells the devices directly to customers through its own website.

       68.     Shopify powers Ledger’s website. Shopify is a large e-commerce company. Over

a million businesses use its platform, and over $64 Billion of sales occurred on its platform

through these businesses in 2019. Shopify is the largest publicly-traded company in Canada.

       69.     Shopify’s success is based on providing services to allow companies to easily

operate online stores. Shopify provides e-commerce solutions for businesses to allow them to

easily create digital storefronts. For example, Shopify allows you to create a well-designed web

layout, provides a payment provider to accept credit card payments, and makes various profit and

inventory applications available. These solutions are essentially a software product that

companies subscribe to in order to host digital stores.




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         70.    When users purchase directly from Ledger on its Shopping Website or sign up for

the Ledger Live services they must provide certain personal information before placing an order,

such as their physical address, phone number, and email address. Because Ledger uses Shopify’s

services, Shopify acts as an intermediary between Ledger and purchasers of Ledger’s products.

Therefore, Shopify also has access to the personal information that purchasers provide.

         71.    Shopify’s terms of service obligate it to “take all reasonable steps to protect the

disclosure of confidential information, including names, addresses, and other information

regarding customers and prospective customers.”

         ii.    Shopify Uses TaskUs as a Data-Processing Company for Ledger Data

         72.    TaskUs is a U.S. based outsourcing company that provides a number of internet-

based content services to hundreds of companies, including customer technical support, content

moderation, and data security.

         73.    Upon information and belief, TaskUs was contracted by Shopify to provide

customer support and data security consulting services for Ledger’s sales website and the Ledger

Live services, in which Ledger customers could obtain live support for their investments and

effectuate transfers of their assets on Ledger’s website. Specifically, TaskUs was entrusted with

the information collected by the Ledger Live service and the Ledger website, described above in

¶ 5, supra, via Shopify, Inc.’s collection of the data through Shopify, Inc.’s e-commerce services

to Ledger. TaskUs therefore had access to and was entrusted with the sensitive user PII that

would allow cybercriminals to target Ledger users with sophisticated phishing attacks.

         74.    TaskUs’s privacy policy specifically mentions that it collects the types of PII that

were leaked in the Data Breach through third parties that use the company’s services. 6 The



6
    See Privacy Statement, TASKUS (July 28, 2021), https://www.taskus.com/privacy-statement/.
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company notes in its privacy policy that it takes “reasonable measures to protect your Personal

Information against loss, destruction, alteration, or unauthorised access or disclosure.”

        iii.   The Data Breach

        75.    Between April and June of 2020, certain “rogue” TaskUs employees took

advantage of the Ledger customer information provided to the company through Shopify’s e-

commerce services and acquired and exported Ledger’s customer transactional records. The

TaskUs employees also obtained data relating to other merchants.

        76.    On September 22, 2020, Shopify announced that “two rogue members of our

support team were engaged in a scheme to obtain customer transactional records of certain

merchants,” involving “the data of less than 200 merchants” and that their support teams had

“been in close communication with affected merchants to help them navigate this issue and

address any of their concerns.” This announcement made it clear that Shopify was aware of the

Data Breach before the day of the announcement and even had time to “conduct an

investigation” and notify affected merchants. On information and belief, Shopify and TaskUs

knew of the Data Breach more than a week before this announcement.

        77.    On February 19, 2021, a federal grand jury indicted a California hacker by the

pseudonym “Pokeball” for wire fraud related to his role in causing the Data Breach. 7 The

indictment alleges that starting in May 2019, Pokeball paid an employee of a Shopify vendor to

provide him with Shopify’s merchant data. Upon information and belief, TaskUs was the

Shopify vendor involved in the Data Breach and acted as Shopify’s agent, providing customer

support services to Shopify customers on its behalf.




7
 See Criminal Indictment, United States v. Heinrich, 8:21-cr-22-JLS (C.D. Cal. 2021), Docket
No. 16 at 2.
                                                27
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        78.    The Data Breach involved the data of approximately 272,000 people,

approximately a third of whom live in the United States. Hackers copied information such as

names, order details, email addresses, physical addresses, and phone numbers. And for many

other users, hackers obtained the email address users registered when buying their Ledger

Wallets.

        79.    By the time it publicly announced the Data Breach, Shopify notified every

affected merchant that rogue employees had stolen their data, but neither Shopify nor TaskUs

warned the hundreds of thousands of individuals harmed by the Data Breach. Instead, TaskUs

and Shopify attempted to cover up and downplay the scale of the Data Breach and did nothing to

protect the owners of data Shopify and TaskUs had been entrusted with.

        iv.    Ledger Initially Denies the Extent of the Data Breach

        80.    In May 2020, public rumors arose concerning the Data Breach. The rumors were

that Ledger’s consumer information from Shopify had been hacked. 8

        81.    This publicly-stated concern was an opportunity for Shopify and Taskus to get

ahead of the problem. Shopify and TaskUs should have, at a minimum: (1) disclosed the Data

Breach; (2) notified all impacted and potentially impacted users; (3) offered services to help

impacted users transition to new accounts; (4) monitored for suspicious transactions; (5) hired

third-party auditors to conduct security testing; (6) trained employees to identify and contain

similar breaches; and (7) trained and educated their users about the threats they faced.

        82.    During this time, the risks and damages to Ledger’s customers were only

increasing. A prompt and proper response from Shopify and TaskUs, including full disclosure to



8
  Jamie Redman, Hacker Attempts to Sell Data Allegedly Tied to Ledger, Trezor, Bnktothefuture
Customers, BITCOIN (May 24, 2020), https://news.bitcoin.com/hacker-attempts-to-sell-data-
allegedly-tied-to-ledger-trezor-bnktothefuture-custome
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all vendors and customers involved in the Data Breach, would have mitigated those risks and

damages.

        v.     The Data Breach is Acknowledged Publicly for the First Time

        83.    On July 29, 2020, Ledger partially admitted that it was involved in the Data

Breach, yet neither TaskUs nor Shopify had made any attempts to notify affected Ledger

customers of the incident.

        84.    After researchers informed Ledger of a potential data breach on its website,

Ledger announced that its marketing and e-commerce database had been exposed in June of

2020:

               What happened
               On the 14th of July 2020, a researcher participating in our bounty
               program made us aware of a potential data breach on the Ledger
               website. We immediately fixed this breach after receiving the
               researcher’s report and underwent an internal investigation. A week
               after patching the breach, we discovered it had been further
               exploited on the 25th of June 2020, by an unauthorized third party
               who accessed our e-commerce and marketing database – used to
               send order confirmations and promotional emails – consisting
               mostly of email addresses, but with a subset including also contact
               and order details such as first and last name, postal address, email
               address and phone number. Your payment information and
               crypto funds are safe.

               To be as transparent as possible, we want to explain what happened.
               An unauthorized third party had access to a portion of our e-
               commerce and marketing database through an API Key. The API
               key has been deactivated and is no longer accessible.

               What personal information was involved?
               Contact and order details were involved. This is mostly the email
               address of our customers, approximately 1M addresses. Further to
               investigating the situation we have also been able to establish that,
               for a subset of 9500 customers were also exposed, such as first and
               last name, postal address, phone number or ordered products. Due
               to the scope of this breach and our commitment to our customers,
               we have decided to inform all of our customers about this situation.
               Those 9500 customers whose detailed personal information are

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               exposed will receive a dedicated email today to share more details.

               Regarding your ecommerce data, no payment information, no
               credentials (passwords), were concerned by this data breach. It
               solely affected our customers’ contact details.

               This data breach has no link and no impact whatsoever with our
               hardware wallets nor Ledger Live security and your crypto
               assets, which are safe and have never been in peril. You are the
               only one in control and able to access this information.

       85.     This disclosure effort was flawed and misleading. Namely, Shopify and TaskUs

did not immediately warn affected customer and instead took months to “investigate” the claims

against their data storage practices. Shopify and TaskUs did even not disclose the Data Breach

to any customers, let alone explain the extent of the Data Breach, where the information was lost,

and who it may have been lost to.

       86.     Ledger customers were still completely in the dark about the extent of the loss of

this information at this point. All they had received by way of communication from Shopify and

TaskUs was an update from Ledger that it was “actively monitoring for evidence of the database

being sold on the internet, and have found none thus far.” Ledger also explained that they

“immediately fixed this breach” and were undertaking an “internal investigation,” choosing to

eschew third party auditors. Ledger also took pains to repeatedly reiterate to consumers that the

Data Breach had “no impact whatsoever with our hardware wallets nor Ledger Live security and

your crypto assets.” In other words, Ledger’s message was that, after an exhaustive internal

investigation, they had identified a limited hack and had rectified the situation. This patently

inaccurate disclosure was reckless, or at least negligent.

       vi.     Attacks on Ledger Users Increase Exponentially

       87.     By fall of 2020, Ledger, Shopify, and TaskUs did not even attempt to respond to

reports that Ledger customers had faced severe threats or had seen millions of dollars in

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cryptocurrency untraceably removed from their accounts. Shopify had not disclosed to its

customers that it had any connection with the Data Breach. It had not contacted every customer

who had their information lost in the Data Breach, nor had it provided sufficient disclosures to

assist customers whose information may have been lost. TaskUs, by this point, had not even

disclosed that it was the third-party contractor who had been processing this Shopify e-

commerce data, and sat back while media reports of phishing attacks and the loss of

cryptocurrency through the Ledger breach increased.

       88.     Meanwhile, as Shopify and TaskUs continued to leave customers in the dark

about the extent of the Data Breach, Plaintiffs and Class members began receiving high volumes

of phishing emails, SIM-swap attacks, and intimidation threats, with no warning about where

these attacks may be coming from, or how to avoid them. These emails looked like emails sent

from Ledger support.

       89.     In November 2020, for example, a Ledger user reported a phishing attempt by

hackers posing as the Ledger support team members and asking Ledger customers to download

fake version of the Ledger Live software. The fake email was extremely convincing and was

sent to the email addresses that Ledger users had registered their devices on:




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       90.     Other Ledger users responded to the report by confirming that they had received

and been tricked by the fake emails. One user reported: “Got 2 of them in 20 minutes this

afternoon. The only thing they have is our e-mail address. They want us to install the so-called

“latest version of Ledger Live” with a link in the mail, which is a typical red light. I wonder how

many of the non tech-saavy Ledger owners who will fall in this trap…”




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       91.     Plaintiffs received these phishing emails from the hackers pretending to be Ledger

support staff. Plaintiff Sipprell, for example, received a phishing email in December of 2020 that

appeared to be from Ledger:




       92.     The hackers behind this fake email were of course armed with Ledger’s customer

lists and email addresses, and were therefore aware that they were targeting Ledger customers.

These hackers invested time and resources to create convincing fake emails that were successful.

Worst yet, because of Ledger, Shopify, and TaskUs’s failure to admit to the scope of the Data

Breach at this point in the timeline, many of Ledger’s customers did not know that they emails

had been compromised.

       93.     The hacking attempts were not limited to emails. Ledger users reported the

receipt of SMS/text phishing attempts from actors claiming to be Ledger, as well as SIM-swap

attacks. These attacks occurred when scammers trick a wireless telephone carrier into porting the

victim’s phone number to the criminal’s SIM card. By doing so, the attacker is able to bypass

two-factor authentication security on websites, including the Ledger Live service.



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       94.     But for Defendants’ unlawful conduct, hackers would not have accessed

Plaintiffs’ and the putative class members’ contact information. Defendants’ unlawful

conduct—including active attempts to conceal the Data Breach and minimize the extent of the

Data Breach or damages—has directly and proximately resulted in widespread digital attacks

against Plaintiffs and the putative class.

       95.     In addition to these types of threats, Plaintiffs and Class members’ home

addresses are now public online. The class as a whole is comprised of a group of people who are

at an especially high risk of ransom threats and blackmail attempts. But for Defendants’ unlawful

conduct, such criminals would not have access to the home or other postal addresses of Plaintiffs

and the Class. This access has result in, at minimum, an invasion of Plaintiffs’ and the Class’s

privacy and can lead to even greater damages, including theft or violent physical attacks.

       vii.    Severe Emotional Distress and Fear experienced by Ledger users

       96.     The actions described herein have resulted in severe emotional distress for

Plaintiffs and the Class. Plaintiffs and the Class have lost all security and privacy over important

financial information, as well as their home addresses, names, and other contact information in

addition to the fact that they lost millions of dollars from the targeted attacks in the Data Breach.

       97.     Plaintiff Kissinger, for example, had to seek help from a mental health

professional to cope with the ensuing panic attack that resulted from the loss of his

cryptocurrency from his Ledger account, with his emotions continually on edge about the

incident.

       98.     Plaintiffs and the Class remain on edge and alert as they are bombarded with

phishing emails and other scams. Plaintiffs are suffering from the metal and emotional distress

associated with such insecurity and uncertainty caused by the Data Breach. Plaintiff Kissinger



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went into a state of depression after the Data Breach when the actual theft of his assets happened,

and his personal and professional relationships have suffered. Class members, in addition to the

huge financial loss and mental anguish they have been exposed to during the Data Breach,

continue to suffer from stress, anxiety, depression, and financial problems as a result.

       99.     As long as Plaintiffs and the Class members’ PII is accessible on the internet,

Plaintiffs and the Class will remain at substantial risk. Shopify and TaskUs have not offered any

solutions to remedy the damages to Plaintiffs and the Class. Plaintiffs and Class members remain

at permanent risk unless they take on the significant time and expense to change all of the

personal information that was exposed, including their home addresses.

       viii.   Ledger Finally Admits to the Scale of the Data Breach

       100.    In December 2020, reports continued to come in about phishing attempts on

Ledger users. By that time, Ledger, TaskUs, and Shopify’s inaction had provided an opportunity

for the hackers to increase the sophistication and effectiveness of phishing attempts. For

example, some of the phishing attempts references breaches and then instructed users, as a

security measure, to install fake versions of Ledger Live that asked for their PII, or made near-

exact copies of the Ledger device sign-in page that made users believe that another Ledger

device had been linked to their email, luring them into frantically clicking on a fake “cancel”

button that took them to a fake customer support website.

       101.    Plaintiffs, along with other Class members have reported losing significant sums

of crypto-assets as a result of such phishing attempts. Plaintiff Forsberg believed that he was

interacting with the Ledger customer support interface in December of 2020, which he received a

link to through one of these phishing emails, resulting in the loss of approximately 6,000 XRP

coins, worth anywhere from $3000-$5000 in today’s money. Plaintiff Gunter fell victim to a



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SIM-card swap in which approximately 3.99 Ethereum and .042 Bitcoin were transferred out of

his account, resulting in approximately $11,130 worth of loss in today’s money. Plaintiff

Kissinger was similarly directed to a fake Ledger support website through a phishing text

message that he received in November of 2020 in which hackers told him that someone had

registered a Ledger device in his name without authorization, resulting in him inputting his

credentials on the fake website and allowing the hackers to remove approximately $23,220 in

cryptocurrency from his Ledger account. Finally, Plaintiff Sipprell was the victim of a phishing

attack by email that resulted in the loss of approximately $100,000 worth of Stellar Lumens

Coins from his Ledger Wallet. At the time of the phishing attack, Plaintiff Sipprell was in

Florida.

        102.   The phishing attempts were sufficiently successful so that as the depth and scope

of the Data Breach grew, hackers were paying up to $100,000.00 for the compromised list of

ledger customer data. 9

        103.   On December 20, 2020, a hacker published the Ledger customer data online. This

publication included the personal information of more than 270,000 Ledger customers. In fact,

the contents of the Ledger database entrusted to Shopify and TaskUs were distributed on

Raidforums. Raidforums is a database sharing and marketing forum that distributes leaked

information online. This leak of 272,000 pieces of detailed PII of consumers is significantly

greater than he amount of data estimated by Ledger – of 9,500, an estimate reported by Ledger in

July 2020.




9
        @UnderTheBreach,       TWITTER         (Dec.    20,    2020,             01:38          PM),
https://twitter.com/UnderTheBreach/status/1340735356375851009.
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       104.    Consumers and the media justly criticized Ledger and Shopify, stating that the

companies had “vastly underestimated” the Data Breach. 10

       105.    With the data made publicly available for free, many edger customers started

receiving frightening threats. Ledger customers immediately started receiving spam phone calls,

emails, and even death threats.

       106.    Plaintiffs Forsberg, Gunter, Kissinger, and Sipprell, like many members of the

Class, also received numerous spam calls, emails, texts, and other communications attempting to

phish for personal information and extort them out of their cryptocurrency assets. Plaintiffs’ PII

is now available for other parties to sell and trade, and they continue to risk receiving more harm

for the indefinite future. Plaintiffs have also spent enormous amounts of time, usually measured

in days, attempting to move their cryptocurrency out of their accounts and into more secure

locations, changing cell phone numbers and bank accounts, as well as reporting the incidents to

the FBI to attempt to find the missing cryptocurrency—all to no avail.

       107.    Importantly, the Data Breach exposed the physical addresses of the customers

who lost their information in the Data Breach, meaning that users’ home addresses will not be

safe unless they move away from them.

       108.    Before the Data Breach, Shopify and TaskUs should have regularly deleted or

archived customer data or should have otherwise protected that information from online

accessibility. After the Data Breach, for more than five months, Shopify and TaskUs repeatedly

failed to provide critical information to those affected by the Data Breach, compounding the

damages suffered by Plaintiffs and Class members.




10
  See Ledger Breach Vastly Underestimated, 270,000 Clients Data Leaked, CRYPTOBRIEFING
(Dec. 21, 2020), https://cryptonews.net/en/news/security/439897/.
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          109.   TaskUs in particular failed to protect Ledger’s customer data as well. TaskUs

employees should not have had access to Ledger customer information, and the company should

have limited employee access to customer data in a way that prevented rogue employees’ access,

monitored employees’ computer use and copying of files from company servers, assisted

Shopify with its investigation of the Data Breach, and notified Ledger customers of the loss of

their information.

G.        Damages to Plaintiffs and the Class

          110.   Plaintiffs Forsberg, Gunter, Kissinger, and Sipprell have suffered damages from

the Data Breach as set forth above.

          111.   If Shopify and TaskUs had disclosed the extent of the Data Breach—instead of

waiting for over six months—some Plaintiffs, sophisticated users with technology backgrounds

and wary of scams, would have been on heightened alert and not fallen prey to these scams.

Furthermore, others who may not have been of a sophisticated technology background could

have taken additional steps to protect their privacy rights.

          112.   As to other forms of damages, Plaintiffs’ emails and personal information have

been compromised. Plaintiffs Forsberg, Gunter, and Sipprell have received a huge amount of

phishing and other scam emails and text messages.

          113.   The Data Breach has also exposed the locations of purchased Ledger products, by

allowing access to Plaintiffs’ and other customers’ home addresses, which inherently impacts the

security of products like the Ledger Wallet that use home addresses to keep login information

secure.

          114.   Some Class members also remain fearful that intruders will harm them in their

homes due to their addresses being leaked publicly.



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       115.     These leaks of personal information, in conjunction with the information that they

were Ledger customers, has exposed Plaintiffs to additional risks of theft and fraud.,

       116.     Had Plaintiffs been made aware of Defendants’ lax data security practices,

unwillingness to promptly and completely disclose data breaches such as this one, and failure to

provide timely customer service, Plaintiffs would not have provided any PII to Ledger or stored

any bitcoins or other forms of cryptocurrency in their Ledger Wallets; nor would Plaintiffs have

agreed to allow their information to be transmitted to Shopify or TaskUs.

                                 V.     CLASS ALLEGATIONS

       117.     Plaintiffs bring this Action as a class action pursuant to Fed. R. Civ. P. 23 and

seek certification of the following Nationwide Class and State Subclasses (collectively defined as

the “Class”):

                Nationwide Class: All persons residing in the United States who
                provided Shopify or TaskUs with personal information (through the
                use of a Ledger Wallet) that was accessed, compromised, stolen, or
                exposed in the Data Breach.

                Arizona Subclass: All persons residing in Arizona who provided
                Shopify or TaskUs with personal information (through the use of a
                Ledger Wallet) that was accessed, compromised, stolen, or exposed
                in the Data Breach.

                Florida Subclass: All persons residing in Florida who provided
                Shopify or TaskUs with personal information (through the use of a
                Ledger Wallet) that was accessed, compromised, stolen, or exposed
                in the Data Breach.

                Kentucky Subclass: All persons residing in Kentucky who provided
                Shopify or TaskUs with personal information (through the use of a
                Ledger Wallet) that was accessed, compromised, stolen, or exposed
                in the Data Breach.

                North Carolina Subclass: All persons residing in North Carolina
                who provided Shopify or TaskUs with personal information
                (through the use of a Ledger Wallet) that was accessed,
                compromised, stolen, or exposed in the Data Breach.

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The Class Period shall be April 1, 2020 through the present.

       118.    Excluded from the Class are Defendants, their officers and directors, and

members of their immediate families or their legal representatives, heirs, successors or assigns

and any entity in which Defendants have or had a controlling interest.

       119.    Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

Plaintiffs can prove the elements of the claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

       120.    Numerosity—Federal Rule of Civil Procedure 23(a)(1). The members of the

Class are so numerous that joinder of all Class members would be impracticable. On

information and belief, the Class numbers in the thousands. Moreover, the Class and Subclasses

are composed of an easily ascertainable set of individuals who had Ledger Wallets and were thus

impacted by the Data Breach. The precise number of Class members has already been

ascertained and can be further confirmed through discovery, which includes Defendants’ records.

The disposition of Plaintiffs and Class members’ claims through a class action will benefit the

parties and this Court.

       121.    Commonality and Predominance—Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). Common questions of law and fact exist as to all members of the Class and

predominate over questions affecting only individual members of the Class. Such common

questions of law or fact include, inter alia:

       -   Whether Defendants’ data security systems and/or protocol prior to and during the
           Data Breach complied with applicable data security laws and regulations;

       -   Whether Defendants’ data security systems and/or protocol prior to and during the
           Data Breach were consistent with industry standards;

       -   Whether Defendants properly implemented their purported security measures to

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              protect Plaintiffs’ and the Class’s PII from unauthorized capture, dissemination, and
              misuse;

        -     Whether Defendants took reasonable measures to determine the extent of the Data
              Breach after it first learned of same;

        -     Whether Defendants disclosed Plaintiffs’ and the Class’s PII in violation of the
              understanding that the PII was being disclosed in confidence and should be
              maintained;

        -     Whether Defendants willfully, recklessly, or negligently failed to maintain and
              execute reasonable procedures designed to prevent unauthorized access to Plaintiffs’
              and the Class’s PII;

        -     Whether Defendants were negligent in failing to properly secure and protect
              Plaintiffs’ and the Class’s PII;

        -     Whether Defendants were unjustly enriched by their actions; and

        -     Whether Plaintiffs and the other members of the Class are entitled to damages,
              injunctive relief, or other equitable relief, and the measure of such damages and relief.

        122.      Defendants engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by Plaintiffs, on behalf of themselves and other members of the Class.

Similar or identical common law violations, business practices, and injuries are involved.

Individual questions, if any, pale by comparison, in both quality and quantity, to the numerous

common questions that predominate in this action.

        123.     Typicality—Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’ claims are

typical of the claims of the other members of the Class because, among other things, all Class

members were similarly injured and sustained similar monetary and economic injuries as a result

of Defendants’ uniform misconduct described above and were thus all subject to the Data Breach

alleged herein. Further, there are no defenses available to Defendants that are unique to

Plaintiffs.




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       124.    Adequacy of Representation—Federal Rule of Civil Procedure 23(a)(4).

Plaintiffs are adequate representatives of the Class because their interests do not conflict with the

interests of the Class they seek to represent, they have retained counsel competent and

experienced in complex class action litigation, and Plaintiffs will prosecute this action

vigorously. The Class’s interests will be fairly and adequately protected by Plaintiffs and their

counsel.

       125.    Injunctive Relief—Federal Rule of Civil Procedure 23(b)(2). Defendants have

acted and/or refused to act on grounds that apply generally to the Class, making injunctive and/or

declaratory relief appropriate with respect to the Class under Fed. Civ. P. 23 (b)(2).

       126.    Superiority—Federal Rule of Civil Procedure 23(b)(3). A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.

The damages or other financial detriment suffered by Plaintiffs and the other members of the

Class are relatively small compared to the burden and expense that would be required to

individually litigate their claims against Defendants, so it would be impracticable for members of

the Class to individually seek redress for Defendants’ wrongful conduct. Even if members of the

Class could afford individual litigation, the court system could not. Individualized litigation

creates a potential for inconsistent or contradictory judgments and increases the delay and

expense to all parties and the court system. By contrast, the class action device presents far

fewer management difficulties and provides the benefits of a single adjudication, economy of

scale, and comprehensive supervision by a single court.

       127.    Class certification is also appropriate under Rules 23(b)(1) and/or (b)(2) because:

       -   The prosecution of separate actions by the individual members of the Class would
           create a risk of inconsistent or varying adjudications establishing incompatible

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            standards of conduct for Defendants;

        -   The prosecution of separate actions by individual Class members would create a risk
            of adjudication that would, as a practical matter, be dispositive of the interests of
            other Class members not parties to the adjudications, or would substantially impair or
            impede their ability to protect their interests; and

        -   Defendants have acted and refused to act on grounds generally applicable to the
            Class, thereby making appropriate final injunctive relief with respect to the members
            of the Class as a whole.


        128.    Class certification is also appropriate because this Court can designate particular

claims or issues for class-wide treatment and may designate multiple subclasses pursuant to Fed.

R. Civ. P. 23(c)(4).

        129.    No unusual difficulties are likely to be encountered in the management of this

action as a class action.

                                         COUNT I
                                       NEGLIGENCE
  (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the State Subclasses)

        130.    Plaintiffs incorporate the preceding paragraphs as though fully set forth herein.

        131.    Upon Defendants’ accepting and storing the PII of Plaintiffs and the Class in its

computer systems and on its networks, Defendants undertook and owed a duty to Plaintiffs and

the Class to exercise reasonable care to secure and safeguard that information and to use

commercially reasonable methods to do so. Defendants knew that the PII was private and

confidential and should be protected as private and confidential.

        132.    Defendants owed a duty of care not to subject Plaintiffs’ and the Class’s PII to an

unreasonable risk of exposure and theft because Plaintiffs and the Class were foreseeable and

probable victims of any inadequate security practices.




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       133.     Defendants owed numerous duties to Plaintiffs and the Class, including the

following:

       -     to exercise reasonable care in obtaining, retaining, securing, safeguarding, deleting

             and protecting PII in its possession;

       -     to protect PII using reasonable and adequate security procedures and systems that are

             compliant with industry-standard practices; and

       -     to implement processes to quickly detect a data breach and to timely act on warnings

             about data breaches.

       134.     Defendants also breached their duty to Plaintiffs and Class members to adequately

protect and safeguard PII by disregarding standard information security principles, despite

obvious risks, and by allowing unmonitored and unrestricted access to unsecured PII. Furthering

their dilatory practices, Defendants failed to provide adequate supervision and oversight of the

PII with which it was and is entrusted, in spite of the known risk and foreseeable likelihood of

breach and misuse, which permitted a malicious third party to gather Plaintiffs’ and Class

members’ PII and potentially misuse the PII and intentionally disclose it to others without

consent.

       135.     Defendants knew, or should have known, of the risks inherent in collecting and

storing PII and the importance of adequate security.

       136.     Defendants knew, or should have known, that their data systems and networks did

not adequately safeguard Plaintiffs’ and Class members’ PII.

       137.     Defendants breached their duties to Plaintiffs and Class members by failing to

provide fair, reasonable, or adequate computer systems and data security practices to safeguard

Plaintiffs’ and Class members’ PII.



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       138.    Because Defendants knew that a breach of its systems would damage thousands

of its customers, including Plaintiffs and Class members, Defendants had a duty to adequately

protect their data systems and the PII contained thereon.

       139.    Defendants’ duty of care to use reasonable security measures arose as a result of

the special relationship that existed between Defendants and its customers, which is recognized

by laws and regulations including but not limited to common law. Defendants were in a position

to ensure that its systems were sufficient to protect against the foreseeable risk of harm to Class

members from a data breach.

       140.    In addition, Defendants had a duty to employ reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the

unfair practice of failing to use reasonable measures to protect confidential data.

       141.    Defendants’ duty to use reasonable care in protecting confidential data arose not

only as a result of the statutes and regulations described above, but also because Defendants were

bound by industry standards to protect confidential PII.

       142.    Defendants’ own conduct also created a foreseeable risk of harm to Plaintiffs and

Class members and their PII. Defendants’ misconduct included failing to: (1) secure Plaintiffs’

and Class member’s PII; (2) comply with industry standard security practices; (3) implement

adequate system and event monitoring; and (4) implement the systems, policies, and procedures

necessary to prevent this type of data breach.

       143.    Defendants breached their duties, and thus were negligent, by failing to use

reasonable measures to protect Class members’ PII, and by failing to provide timely notice of the

Data Breach. The specific negligent acts and omissions committed by Defendants include, but



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are not limited to, the following:

       -   Failing to adopt, implement, and maintain adequate security measures to safeguard

           Class members’ PII;

       -   Failing to adequately monitor the security of Defendants’ networks and systems;

       -   Allowing unauthorized access to Class members’ PII;

       -   Failing to detect in a timely manner that Class members’ PII had been compromised;

           and

       -   Failing to timely notify Class members about the Data Breach so that they could take

           appropriate steps to mitigate the potential for identity theft and other damages

       144.      Through Defendants’ acts and omissions described in this Complaint, including

their failure to provide adequate security and failure to protect Plaintiffs’ and Class members’ PII

from being foreseeably captured, accessed, disseminated, stolen and misused, Defendants

unlawfully breached their duty to use reasonable care to adequately protect and secure Plaintiffs’

and Class members’ PII during the time it was within Defendants’ possession or control.

       145.      Defendants’ conduct was grossly negligent and departed from all reasonable

standards of care, including, but not limited to failing to adequately protect the PII and failing to

provide Plaintiffs and Class members with timely notice that their sensitive PII had been

compromised.

       146.      Neither Plaintiffs nor the other Class members contributed to the Data Breach and

subsequent misuse of their PII as described in this Complaint.

       147.      As a direct and proximate result of Defendants’ conduct, Plaintiffs and Class

members suffered damages as alleged above.




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          148.   Plaintiffs and Class members are also entitled to injunctive relief requiring

Defendants to, e.g., (i) strengthen data security systems and monitoring procedures; and (ii)

submit to future annual audits of those systems and monitoring procedures.

                                         COUNT II
                                  NEGLIGENCE PER SE
  (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the State Subclasses)

          149.   Plaintiffs fully incorporate by the proceeding paragraphs as though fully set forth

herein.

          150.   Section 5 of the FTC Act, 15 U.S.C. § 45, prohibits “unfair . . . practices in or

affecting commerce” including, as interpreted and enforced by the FTC, the unfair act or practice

by companies such as Ledger of failing to use reasonable measures to protect personal

information. Various FTC publications and orders also form the basis of Defendants’ duties.

          151.   Shopify and TaskUs violated Section 5 of the FTC Act (and similar state

consumer protection statutes) by failing to use reasonable measures to protect personal

information and not complying with industry standards. Defendants’ conduct was particularly

unreasonable given the nature and amount of PII they obtained and stored and the foreseeable

consequences of a data breach that disclosed customers’ PII, including the fact that those

customers owned crypto-assets, to hackers and other third parties.

          152.   Shopify and TaskUs’s violations of Section 5 of the FTC Act (and similar state

consumer protection statutes) constitute negligence per se. This negligence was, at the very

minimum, a substantial factor in causing the Plaintiffs' and Class members’ PII to be improperly

accessed, disclosed, and otherwise compromised, and in causing Plaintiffs’ and Class members’

other injuries as a result of the Data Breach.




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        153.    The Class members, including Plaintiffs, are within the class of persons that

Section 5 of the FTC Act (and similar state statutes) was intended to protect. In addition, the

harm that the Class members have suffered is the type of harm that the FTC Act (and similar

state statutes) were intended to prevent. Indeed, the FTC has pursued over fifty enforcement

actions against businesses that, as a result of their failure to employ reasonable data security

measures and avoid unfair and deceptive practices, caused the same or similar harm suffered by

the Class members.

        154.    As a direct and proximate result of Shopify’s and TaskUs’s negligence, the Class

members have been injured as described herein and are entitled to damages, including

compensatory, punitive, and nominal damages, in an amount to be proven at trial.

                                        COUNT III
              DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
  (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the State Subclasses)

        155.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though

fully set forth herein.

        156.    Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. The Court also has broad authority to restrain acts, such as here, that are

tortious and violate the terms of the federal and state statutes described in this Complaint.

        157.    An actual controversy has arisen in the wake of the Data Breach regarding

Defendants’ present and prospective duties to reasonably safeguard customers’ and consumers’

personal information and whether Shopify and TaskUs are maintaining data-security measures

adequate to protect the Class members, including Plaintiffs, from further data breaches that

compromise their personal information.



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       158.    Plaintiffs allege that Defendants’ data-security measures remain inadequate.

Shopify and TaskUs deny these allegations. In addition, Plaintiffs continue to suffer injury as a

result of the compromise of their PII and remain at imminent risk that further compromises of

their PII and continued fraudulent activity against them will occur in the future.

       159.    Pursuant to its authority under the Declaratory Judgment Act, Plaintiffs ask the

Court to enter a judgment declaring, among other things, the following: (i) Shopify and TaskUs

owe a duty to secure consumers’ PII and to timely notify consumers of a data breach under the

common law, Section 5 of the FTC Act, and various state statutes; and (ii) Shopify and TaskUs

are in breach of these legal duties by failing to employ reasonable measures to secure consumers’

PII in their possession and control.

       160.    Plaintiffs further ask the Court to issue corresponding prospective injunctive relief

requiring Shopify and TaskUs to employ adequate security protocols consistent with law and

industry standards to protect consumers’ PII from future data breaches.

       161.    If an injunction is not issued, the Class members will suffer irreparable injury, and

lack an adequate legal remedy, in the event of another data breach at Shopify and/or TaskUs. The

risk of another such breach is real, immediate, and substantial. If another breach at TaskUs

and/or Shopify occurs, the Class members will not have an adequate remedy at law because

many of the resulting injuries are not readily quantified and Class members will be forced to

bring multiple lawsuits to rectify the same misconduct.

       162.    The hardship to the Class members if an injunction does not issue exceeds the

hardship to Shopify and TaskUs if an injunction is issued. Among other things, if another

massive data breach occurs due to the misconduct of Shopify and TaskUs, the Class members

will likely be subjected to substantial hacking attempts, physical threats, and other damage, in



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addition to the hacking attempts, physical threats, and damages already suffered. On the other

hand, the cost to Shopify and TaskUs of complying with an injunction by employing reasonable

prospective data security measures is relatively minimal, and Shopify and TaskUs have pre-

existing legal obligations to employ such measures.

        163.    Issuance of the requested injunction will not disserve the public interest. To the

contrary, such an injunction would benefit the public by preventing additional data breaches at

Shopify and/or TaskUs, thus eliminating the additional injuries that would result to the Class

members and the millions of consumers whose personal and confidential information would be

further compromised.

                                         COUNT IV
                                  UNJUST ENRICHMENT
  (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the State Subclasses)

        164.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though fully

set forth herein.

        165.    Plaintiffs and Class members conferred a monetary benefit on Defendants.

Specifically, they purchased goods and services from Defendants and provided Defendants with

their Private Information. In exchange, Plaintiffs and Class members should have received from

Defendants the goods and services that were the subject of the transaction and should have been

entitled to have Defendants protect their Private Information with adequate data security.

        166.    Defendants knew that Plaintiffs and Class members conferred a benefit upon them

and has accepted or retained that benefit. Defendants profited from Plaintiffs’ purchases and used

Plaintiffs’ and Class members’ Private Information for business purposes.

        167.    Defendants failed to secure Plaintiffs’ and Class members’ Private Information and,

therefore, did not provide full compensation for the benefit the Plaintiffs’ and Class members’



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Private Information provided.

        168.      Defendants acquired the Private Information through inequitable means as they

failed to disclose the inadequate security practices previously alleged.

        169.      If Plaintiffs and Class members knew that Defendants would not secure their

Private Information using adequate security, they would have made alternative choices that

excluded Defendants.

        170.      Plaintiffs and Class members have no adequate remedy at law.

        171.      Under the circumstances, it would be unjust for Defendants to be permitted to retain

any of the benefits that Plaintiffs and Class members conferred on them.

        172.      Defendants should be compelled to disgorge into a common fund or constructive

trust, for the benefit of Plaintiffs and Class members, proceeds that they unjustly received from

them. In the alternative, Defendants should be compelled to refund the amounts that Plaintiffs and

Class members overpaid.

                                         COUNT V
     Violation of Florida’s Deceptive and Unfair Trade Practices Act (“FDUTPA”)
                                 Fla. Stat. § 501.201, et seq.
 (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the Florida Subclass)

        173.      Plaintiffs fully incorporate by reference all of the above paragraphs, as though

fully set forth herein.

        174.      Plaintiffs, Plaintiffs, class members, and Defendants each qualify as a person

engaged in trade or commerce as contemplated by the Florida Deceptive and Unfair Trade

Practices Act (“FDUTPA”) Fla. Stat. § 501.201, et seq.

        175.      As alleged herein in this Complaint, Defendants engaged in unfair or deceptive acts

or practices in the conduct of consumer transactions in violation of the FDUTPA, including but

not limited to:

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    a. representing that its services were of a particular standard or quality that it knew or

       should have known were of another;

    b. Failing to implement and maintain reasonable security and privacy measures to

       protect Plaintiffs and class members’ Private Information, which was a direct and

       proximate cause of the Data Breach;

    c. Failing to identify foreseeable security and privacy risks, and remediate identified

       security and privacy risks, which was a direct and proximate cause of the Data Breach;

    d. Failing to comply with common law and statutory duties pertaining to the security

       and privacy of Plaintiffs and class members’ Private Information, including duties

       imposed by the FTCA, 15 U.S.C. § 45, which was a direct and proximate cause of the

       Cyber-Attack and data breach;

    e. Misrepresenting that it would protect the privacy and confidentiality of Plaintiffs’ and

       class members’ Private Information, including by implementing and maintaining

       reasonable security measures;

    f. Omitting, suppressing, and concealing      the   material    fact   that   it   did   not

       reasonably or adequately secure Plaintiffs’ and Class members’ Private Information;

       and

    g. Omitting, suppressing, and concealing the material fact that it did not comply with

       common law and statutory duties pertaining to the security and privacy of Plaintiffs’

       and class members’ Personal Information, including duties imposed by the FTCA, 15

       U.S.C. § 45, which was a direct and proximate cause of the Security breach.




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       176.      Defendants’ representations and omissions were material because it was likely to

deceive reasonable consumers about the adequacy of Defendant’s data security and ability to

protect the confidentiality of consumers’ Private Information.

       177.      In addition, Defendant’s failure to secure consumers’ PHI violated the FTCA and

therefore violates the FDUTPA.

       178.      Defendants knew or should have known that their computer systems and data

security practices were inadequate to safeguard the PII of Plaintiffs and Class Members, deter

hackers, and detect a breach within a reasonable time, and that the risk of a data breach was

highly likely.

       179.      The aforesaid conduct constitutes a violation of the FDUTPA, Fla. Stat. § 501.204,

in that it is a restraint on trade or commerce.

       180.      The Defendants’ violations of the FDUTPA have an impact of great and general

importance on the public, including Floridians. On information and belief, thousands of Floridians

have used Defendants’ services through their use of Ledger Wallets, many of whom have been

impacted by the Data Breach. In addition, Florida residents have a strong interest in regulating the

conduct of corporations who do business in Florida such as Defendants, whose policies and

practices described herein affected millions across the country.

       181.      As a direct and proximate result of Defendants’ violation of the FDUTPA,

Plaintiffs and class members are entitled to a judgment under Fla. Stat. § 501.201, et seq, to

enjoin further violations, to recover actual damages, to recover the costs of this action (including

reasonable attorney’s fees), and such other further relief as the Court deems just and proper.

       182.      Defendants’ implied and express representations that they would adequately

safeguard Plaintiff’s and other class members’ Private Information constitute representations as



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to characteristics, uses or benefits of services that such services did not actually have, in

violation of Fla. Stat. § 501.202(2).

        183.    Defendants’ implied and express representations that they would adequately

safeguard Plaintiff’s and class members’ Private Information constitute representations as to the

particular standard, quality, or grade of services that such services did not actually have (as the

data security services were of another, inferior quality), in violation of Fla. Stat. § 501.204.

        184.    Defendants knowingly made false or misleading statements in its privacy policy

regarding the use of personal information submitted by members of the public in that Defendants

advertised it is committed to protecting privacy and securely maintaining personal information.

Defendant did not securely maintain personal information as represented, in violation of Fla.

Stat. § 501.171.

        185.     These violations have caused financial injury to Plaintiffs and class members and

have created an unreasonable, imminent risk of future injury.

        186.    Accordingly, Plaintiffs, on behalf of themselves and class members, bring this

action under the Deceptive and Unfair Trade Practices Act to seek such injunctive relief

necessary to enjoin further violations and to recover costs of this action, including reasonable

attorneys’ fees and costs.

                                         COUNT VI
        Violation of the North Carolina Unfair and Deceptive Trade Practices Act
                               N.C. Gen. Stat. § 75-1.1, et seq.
   (On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the North Carolina
                                          Subclass)

        187.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though

fully set forth herein.




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           188.   The North Carolina Unfair and Deceptive Trade Practices Act, , N.C. Gen. Stat. §

75.1.1 (“UDTPA”) “declare[s] unlawful” all “[u]nfair methods of competition in or affecting

commerce, and unfair or deceptive acts or practices in or affecting commerce.” Id. at § 75-1.1(a).

           189.   For the purposes of North Carolina’s UDTPA, the term “commerce” includes all

business activities, however, denominated, but does not include professional services rendered by

a member of a learned profession.

           190.   Defendants violated the North Carolina UDTPA by engaging in unlawful, unfair,

or deceptive business acts and practices in or affecting commerce, as well as unfair, deceptive,

untrue, or misleading advertising that constitute acts of “unfair competition” prohibited in the

statute.

           191.   Defendants engaged in unlawful acts and practices with respect to their services by

establishing inadequate security practices and procedures described herein; by soliciting and

collecting Plaintiffs' and Class Members' sensitive information with knowledge that such

information would not be adequately protected; and by gathering Plaintiffs’ and Class Members’

sensitive information in an unsecure electronic environment in violation of North Carolina's data

breach statute, the Identity Theft Protection Act, N.C. Gen. Stat. § 75-60, et seq., which requires

Defendants to undertake reasonable methods of safeguarding the sensitive information of the

Plaintiffs and other Class Members.

           192.   In addition, Defendants engaged in unlawful acts and practices when they failed to

discover and then disclose the data security breach to Plaintiffs and the Class Members in a timely

and accurate manner, contrary to the duties imposed by N.C. Gen. Stat. § 75-65.

           193.   Defendants further violated UDTPA by violating North Carolina's Identity Theft

Protection Act (ITPA), N.C. Gen. Stat. § 75-60, et. seq. (“ITPA”) by: (a) Failing to prevent the PII



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of Plaintiffs and Class Members from falling into unauthorized hands; (b) Failing to make

reasonable efforts to safeguard and protect the PII of Plaintiffs and Class Members; (c) Failing to

provide adequate notice of the security breach to affected consumers upon discovery that their

system had been compromised and PII had been disclosed; and (d) In other ways to be discovered

and proven at trial.

       194.    Defendants willfully concealed, suppressed, omitted and failed to inform Plaintiffs

and Class Members of the material facts as described above.

       195.    As a direct and proximate result of Defendants’ unlawful acts and practices,

Plaintiffs and Class Members have been injured, suffering ascertainable losses and lost money or

property, including but not limited to the loss of their legally protected interests in the

confidentiality and privacy of their sensitive information.

       196.    Defendants knew or should have known that their data security practices were

inadequate to safeguard Plaintiffs and the Class Members' sensitive information, that the risk of a

data security breach was significant, and that their systems were, in fact, breached.

       197.    Defendants’ actions in engaging in the above-named unlawful practices were

negligent, knowing and willful, and/or wanton and reckless with respect to the rights of Plaintiffs

and the Class Members.

       198.    Plaintiffs and the Class Members seek relief under the North Carolina UDTPA

including, but not limited to: restitution to Plaintiffs and Class Members of money and property

that Defendants have acquired by means of unlawful and unfair business practices; disgorgement

of all profits accruing to Defendants because of their unlawful and unfair business practices; treble

damages (pursuant to N.C. Gen. Stat. § 75-16); declaratory relief; attorneys' fees and costs

(pursuant to N.C. Gen. Stat. § 75-16.1); and injunctive or other equitable relief.



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                                        COUNT VII
       VIOLATIONS OF THE ARIZONA CONSUMER FRAUD ACT (“ACFA”)
                              Ariz. Rev. Stat. § 44-1522, et seq.
(On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the Arizona Subclass)

        199.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though

fully set forth herein.

        200.    The ACFA provides in pertinent part: “The act, use or employment by any person

of any deception, deceptive or unfair act or practice, fraud, false pretense, false promise,

misrepresentation, or concealment, suppression or omission of any material fact with intent that

others rely on such concealment, suppression or omission, in connection with the sale or

advertisement of any merchandise whether or not any person has in face been misled, deceived or

damaged thereby, is declared to be an unlawful practice.” Ariz. Rev. Stat. § 44-1522.

        201.    Plaintiffs and Class Members are “persons” as defined by Ariz. Rev. Stat. § 44-

1521(6).

        202.    Defendants provides “services” as that term is included in the definition of

“merchandise” under Ariz. Rev. Stat. § 44-1521(5), and Defendants are engaged in the “sale” of

“merchandise” as defined by Ariz. Rev. Stat. § 44-1521(7).

        203.    Defendants engaged in deceptive and unfair acts and practices, misrepresentation,

and the concealment, suppression and omission of material facts in connection with the sale and

advertisement of “merchandise” (as defined in the ACFA) in violation of the ACFA, including but

not limited to the following: (a) Failing to maintain sufficient security to keep Plaintiffs’ and Class

Members’ confidential, financial, and personal data from being hacked and stolen; (b) Failing to

disclose the Data Breach to Class Members in a timely and accurate manner, in violation of Ariz.

Rev. Stat. § 18-552(B); (c) Misrepresenting material facts, pertaining to the sale of cryptocurrency

wallets by representing that they would maintain adequate data privacy and security practices and

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procedures to safeguard Class Members’ PHI and PII from unauthorized disclosure, release, data

breaches, and theft; (d) Misrepresenting material facts, in connection with the sale of

cryptocurrency wallets by representing that they did and would comply with the requirements of

relevant federal and state laws pertaining to the privacy and security of Class Members’ PII; (e)

Omitting, suppressing, and concealing the material fact of the inadequacy of the data privacy and

security protections for Class Members’ PII, (f) Engaging in unfair, unlawful, and deceptive acts

and practices by failing to maintain the privacy and security of Class Members’ PII, in violation

of duties imposed by and public policies reflected in applicable federal and state laws, resulting in

the Data Breach. These unfair, unlawful, and deceptive acts and practices violated duties imposed

by laws, including Section 5 of the FTC Act; (g) Engaging in unlawful, unfair, and deceptive acts

and practices by failing to disclose the Data Breach to Class Members in a timely and accurate

manner; (h) Engaging in unlawful, unfair, and deceptive acts and practices by failing to take proper

action following the Data Breach to enact adequate privacy and security measures and protect

Class Members’ PII from further unauthorized disclosure, release, data breaches, and theft.

       204.    The above unlawful, unfair, and deceptive acts and practices by Defendants were

immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiffs

and Class Members that they could not reasonably avoid; this substantial injury outweighed any

benefits to consumers or to competition.

       205.    Defendants knew or should have known that their computer systems and data

security practices were inadequate to safeguard Class Members’ PII and that risk of a data breach

or theft was high. Defendants’ actions in engaging in the above-named deceptive acts and practices

were negligent, knowing and willful, and/or wanton and reckless with respect to the rights of

Members of the Class.



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        206.    As a direct and proximate result of Defendants’ deceptive acts and practices, the

Class Members suffered an ascertainable loss of money or property, real or personal, as described

above, including the loss of their legally protected interest in the confidentiality of their PII.

        207.    Plaintiffs and Class Members seek relief under the ACFA including, but not limited

to, injunctive relief, actual damages, treble damages for each willful or knowing violation, and

attorneys’ fees and costs.

                                        COUNT VIII
                   Violations of the Kentucky Consumer Protection Act
                               Ky. Rev. Stat. §§ 367.110, et seq
(On Behalf of Plaintiffs and the Nationwide Class or, alternatively, the Kentucky Subclass)

        208.    Plaintiffs fully incorporate by reference all of the above paragraphs, as though

fully set forth herein.

        209.    Plaintiffs and Kentucky Subclass Members purchased goods and services for

personal, family, and/or household purposes from Defendants.

        210.    Defendants, operating in Kentucky, engaged in deceptive, unfair, and unlawful

trade acts or practices in the conduct of trade or commerce, in violation of Ky. Rev. Stat. § 367.170,

including but not limited to the following: (a) Fraudulently advertising material facts pertaining to

its good and services to the Kentucky Subclass by representing and advertising that it would

maintain adequate data privacy and security practices and procedures to safeguard Kentucky

Subclass Members’ Personal Information from unauthorized disclosure, release, data breaches,

and theft; (b) Misrepresenting material facts pertaining to goods and services to the Kentucky

Subclass by representing and advertising that it did and would comply with the requirements of

relevant federal and state laws pertaining to the privacy and security of Kentucky Subclass

Members’ Personal Information; (c) Omitting, suppressing, and concealing the material fact of the

inadequacy of the privacy and security protections for Kentucky Subclass Members’ Personal

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Information; (d) Engaging in deceptive, unfair, and unlawful trade acts or practices by failing to

maintain the privacy and security of Kentucky Subclass Members’ Personal Information, in

violation of duties imposed by and public policies reflected in applicable federal and state laws,

resulting in the Data Breach; (e) Engaging in deceptive, unfair, and unlawful trade acts or practices

by failing to disclose the Data Breach to Kentucky Subclass Members in a timely and accurate

manner, contrary to the duties imposed by Ky. Rev. Stat. § 365.732(2); and (f) Engaging in

deceptive, unfair, and unlawful trade acts or practices by failing to take proper action following

the Data Breach to enact adequate privacy and security measures and protect Kentucky Subclass

Members’ Personal Information from further unauthorized disclosure, release, data breaches, and

theft.

         211.   As a direct and proximate result of Defendants’ deceptive trade practices, Kentucky

Subclass Members suffered an ascertainable loss of money or property, real or personal, as

described above, including the loss of their legally protected interest in the confidentiality and

privacy of their Personal Information.

         212.   The above unfair and deceptive practices and acts by Defendants were immoral,

unethical, oppressive, and unscrupulous. These acts caused substantial injury to Plaintiffs and

Kentucky Subclass Members that they could not reasonably avoid; this substantial injury

outweighed any benefits to consumers or to competition.

         213.   Defendants knew or should have known that its computer systems and data security

practices were inadequate to safeguard Kentucky Subclass Members’ Personal Information and

that the risk of a data breach or theft was high. Defendants’ actions in engaging in the above-named

unfair practices and deceptive acts were negligent, knowing and willful, and/or wanton and

reckless with respect to the rights of members of the Kentucky Subclass.



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        214.    Plaintiff and Kentucky Subclass Members seek relief under Ky. Rev. Stat. §

367.220, including, but not limited to, damages, punitive damages, restitution and/or other

equitable relief, injunctive relief, and/or attorneys’ fees and costs.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of the other members of the Class

proposed in this Complaint, respectfully request that the Court enter judgment in favor of

Plaintiffs and the Class and against Defendants, as follows:

        A.      For an Order certifying this action as a class action and appointing Plaintiffs and

their counsel to represent the Class;

        B.      For equitable relief enjoining Defendants from engaging in the wrongful conduct

complained of herein pertaining to the misuse and/or disclosure of Plaintiffs’ and Class

members’ PII, and from failing to issue prompt, complete and accurate disclosures to Plaintiffs

and Class members;

        C.      For equitable relief compelling Defendants to utilize appropriate methods and

policies with respect to consumer data collection, storage, and safety, and to disclose with

specificity the type of PII compromised during the Data Breach;

        D.      For equitable relief requiring restitution and disgorgement of the

revenues wrongfully retained as a result of Defendants’ wrongful conduct;

        E.      For an award of actual damages, compensatory damages, statutory damages, and

statutory penalties, in an amount to be determined, as allowable by law;

        G.      For an award of punitive damages, as allowable by law;

        H.      For an award of attorneys’ fees and costs, and any other expense, including expert

witness fees;



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    I.       Pre- and post-judgment interest on any amounts awarded; and

    J.       Such other and further relief as this court may deem just and proper.

                                      JURY DEMAND

             Plaintiffs demand a trial by jury on all issues so

                                                       triable.



    Dated: April 1, 2022                                    /s/ P. Bradford deLeeuw
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